                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )      Criminal No. 3:14-00104
                                                    )      Judge Trauger
                                                    )
[1] JOHN WESLEY CANTRELL, III                       )



                                            ORDER

       It is hereby ORDERED that a hearing shall be held on Tuesday, July 21, 2015, at

1:00 p.m. on the defendant’s motion to review the magistrate judge’s detention order (Docket

No. 267). Although this hearing is de novo (18 U.S.C. §3142(g)), the court will review the

record before the magistrate judge and then receive whatever further evidence either side wishes

to introduce.

       It is so ORDERED.

       Enter this 15th day of July, 2015.



                                                    ___________________________________
                                                            ALETA A. TRAUGER
                                                          United States District Judge




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